                                                                   Case 2:19-bk-24804-VZ              Doc 963 Filed 05/06/21 Entered 05/06/21 15:41:58                             Desc
                                                                                                       Main Document    Page 1 of 16


                                                                   1    Richard M. Pachulski (CA Bar No. 90073)
                                                                        Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2    Malhar S. Pagay (CA Bar No. 189289)
                                                                        PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3    10100 Santa Monica Blvd., 13th Floor
                                                                        Los Angeles, California 90067
                                                                   4    Telephone: 310/277-6910
                                                                        Facsimile: 310/201-0760
                                                                   5    E-mail: rpachulski@pszjlaw.com
                                                                                jdulberg@pszjlaw.com
                                                                   6            mpagay@pszjlaw.com

                                                                   7    Attorneys for Reorganized Debtor

                                                                   8
                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                                   LOS ANGELES DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       In re:                                                       Case No.: 2:19-bk-24804-VZ
                                                                  12
                                                                       YUETING JIA,1
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                                Chapter 11
                                           ATTORNEYS AT LAW




                                                                                                  Reorganized Debtor.
                                                                  14                                                                REORGANIZED DEBTOR’S SECOND POST-
                                                                                                                                    CONFIRMATION STATUS REPORT
                                                                  15                                                                REGARDING CONSUMMATION OF PLAN
                                                                                                                                    OF REORGANIZATION
                                                                  16
                                                                                                                                    Post Confirmation Status Conference:
                                                                  17
                                                                                                                                     Date: May 20, 2021
                                                                  18                                                                 Time: 9:30 a.m.
                                                                                                                                     Place: Courtroom 1368
                                                                  19                                                                        Edward R. Roybal Federal Building
                                                                                                                                            255 East Temple Street
                                                                  20                                                                        Los Angeles, California 90012
                                                                                                                                    Judge: Honorable Vincent P. Zurzolo
                                                                  21

                                                                  22

                                                                  23             Yueting Jia, the reorganized debtor herein (“YT” or the “Reorganized Debtor”), pursuant to

                                                                  24    Local Bankruptcy Rule 3020-1(b) and paragraph T.3. of the Order Granting Motion to Confirm

                                                                  25    Third Amended Chapter 11 Plan of Reorganization for Yueting Jia (Dated March 17, 2020, Docket

                                                                  26    Entry #464) as Modified [Docket No. 810] (the “Confirmation Order”), entered on June 5, 2020,

                                                                  27    hereby submits his second post-confirmation status report with respect to the Third Amended

                                                                  28    1
                                                                          The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is
                                                                        91 Marguerite Drive, Rancho Palos Verdes, CA 90275.

                                                                        DOCS_LA:337749.1 46353/003
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                                                                   1   Chapter 11 Plan of Reorganization for Yueting Jia (Dated March 17, 2020) as modified by the

                                                                   2   Confirmation Order (the “Plan”),2 and states as follows:

                                                                   3              1.       The Plan, which became effective on June 26, 2020, was predicated on the principle

                                                                   4   of aligning the interests of YT’s creditors with those of Faraday Future (“FF”), a technology

                                                                   5   company YT founded that focuses on the development of a smart mobility ecosystem and electric

                                                                   6   vehicles.3 Under the Plan, YT would satisfy his debts by contributing his interests in FF Intelligent

                                                                   7   Mobility Global Holdings Ltd (“FF Intelligent”), the parent company of FF, which consist of all of

                                                                   8   his legally recognized personal assets (other than those assets that have been frozen or seized in the

                                                                   9   People’s Republic of China), to the Founding Futures Creditors Trust (the “Creditors Trust” or

                                                                  10   “Trust”), to be held for the benefit of his creditors. The trustee of the Trust is Jeffrey D. Prol, who

                                                                  11   served as lead counsel for the Official Committee of Unsecured Creditors appointed in the case.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12              2.       The Reorganized Debtor filed his Reorganized Debtor’s First Post-Confirmation
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Status Report Regarding Consummation of Plan of Reorganization [Docket No. 907] (the “First
                                           ATTORNEYS AT LAW




                                                                  14   Post-Confirmation Status Report”) on October 1, 2020, which was prepared in accordance with the

                                                                  15   Court’s Instructions for Filing First Status Report Regarding Consummation of Confirmed Plan. For

                                                                  16   reference, a true and correct copy of the First Post-Confirmation Status Report is attached hereto as

                                                                  17   Exhibit “A”. As indicated in the First Post-Confirmation Status Report and detailed in a schedule

                                                                  18   attached thereto, all Administrative Expenses, DIP Facility Claims, Priority Tax Claims and Priority

                                                                  19   Non-Tax Claims asserted against the Reorganized Debtor’s bankruptcy estate have been satisfied.

                                                                  20   The Court conducted a post-confirmation status conference on October 29, 2020.

                                                                  21              3.       On January 27, 2021, the Trust, Pacific Technology Holding LLC (“Pacific

                                                                  22   Technology”), and FF Global Partners LLC, entered into a Purchase Agreement (the “Purchase

                                                                  23   Agreement”), pursuant to which the Trust conveyed to Pacific Technology 6,211,469 Class B

                                                                  24   Ordinary Shares of FF Intelligent. In exchange, Pacific Technology agreed that their secured

                                                                  25   indebtedness has been satisfied.

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                                                                           Capitalized terms not otherwise defined herein shall have the same meaning as set forth in the Plan.
                                                                       3
                                                                           https://www.ff.com/
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                                                                   1              4.       On January 28, 2021, FF announced that it had entered into an agreement to merge

                                                                   2   with a special purpose acquisition company (the “SPAC Transaction”) and raise substantial proceeds

                                                                   3   by the sale of equity involving private investments in a public entity (together with the SPAC

                                                                   4   Transaction, the “Transactions”). Through the Transactions, FF expects to receive approximately $1

                                                                   5   billion of gross proceeds as sufficient funding for the production launch of the FF 91 at FF’s

                                                                   6   Hanford, California, facility. The implied value of FF Intelligent based on the Transactions is

                                                                   7   approximately $3.4 billion, resulting in an imputed valuation of the Trust Assets in the Creditors

                                                                   8   Trust of approximately $642 million.4

                                                                   9              5.       On February 9, 2021, the Reorganized Debtor filed a Motion for Entry of an Order

                                                                  10   Determining the Discharge Date Under Debtor’s Third Amended Plan of Reorganization Under

                                                                  11   Chapter 11 of the Bankruptcy Code, as Modified [Docket No. 924] (the “Discharge Motion”). As
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   set forth in the Discharge Motion, because of the value created by the Transactions and the Purchase
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Agreement, the Reorganized Debtor met the requirements for entry of a discharge established by the
                                           ATTORNEYS AT LAW




                                                                  14   Court in the Confirmation Order: specifically, the Creditors Trust has repaid the three tranches of

                                                                  15   secured financing to Pacific Technology. As a result, the next dollars distributed by the Creditors

                                                                  16   Trust would be paid to general unsecured creditors. On March 8, 2021, the Court entered an Order

                                                                  17   of Discharge [Docket No. 943] with an effective date of February 3, 2021.

                                                                  18              6.       On April 1, 2021, the Reorganized Debtor filed a Motion for Order to Further Extend

                                                                  19   Time to File Claim Objections [Docket 946] (the “Second Claim Objection Deadline Extension

                                                                  20   Motion”), approved by order entered on April 29, 2021 [Docket No. 961]. The relief granted

                                                                  21   through the Second Claim Objection Deadline Extension Motion allows the Reorganized Debtor to

                                                                  22   file objections to claims until August 20, 2021, unless such deadline is further extended.

                                                                  23              7.       As contemplated in the Plan, on April 13, 2021, the Reorganized Debtor filed Plan

                                                                  24   Arbitration Procedures [Docket No. 949] which govern all Plan-related disputes. They include

                                                                  25   certain mandatory mediation procedures relating to disputes involving claim amounts.

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                                                                           This imputed valuation assumes capital contribution by FF Global Partners LLC in full.
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                                                                   1            8.       Since Plan Confirmation, the Reorganized Debtor has paid $3,000.00 to the Internal

                                                                   2   Revenue Service on account of estimated 2020 personal income tax liability. The Reorganized

                                                                   3   Debtor continues to accrue ordinary income tax liabilities arising from his work for FF.

                                                                   4            9.       Currently, the Reorganized Debtor is not able to estimate when he will be in a

                                                                   5   position to apply for a final decree in this case.

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                                                                       Dated:        May 6, 2021                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   8

                                                                   9                                                   By       /s/Malhar S. Pagay
                                                                                                                                Richard M. Pachulski
                                                                  10                                                            Jeffrey W. Dulberg
                                                                                                                                Malhar S. Pagay
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                                Attorneys for Reorganized Debtor
                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                                                   1    Richard M. Pachulski (CA Bar No. 90073)
                                                                        Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2    Malhar S. Pagay (CA Bar No. 189289)
                                                                        PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3    10100 Santa Monica Blvd., 13th Floor
                                                                        Los Angeles, California 90067
                                                                   4    Telephone: 310/277-6910
                                                                        Facsimile: 310/201-0760
                                                                   5    E-mail: rpachulski@pszjlaw.com
                                                                                jdulberg@pszjlaw.com
                                                                   6            mpagay@pszjlaw.com

                                                                   7    Attorneys for Reorganized Debtor

                                                                   8
                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                                   LOS ANGELES DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       In re:                                                       Case No.: 2:19-bk-24804-VZ
                                                                  12
                                                                       YUETING JIA,1
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                                Chapter 11
                                           ATTORNEYS AT LAW




                                                                                                  Reorganized Debtor.
                                                                  14                                                               REORGANIZED DEBTOR’S FIRST POST-
                                                                                                                                   CONFIRMATION STATUS REPORT
                                                                  15                                                               REGARDING CONSUMMATION OF PLAN
                                                                                                                                   OF REORGANIZATION; DECLARATION
                                                                  16                                                               OF YUETING JIA IN SUPPORT THEREOF

                                                                  17                                                               Post Confirmation Status Conference:

                                                                  18                                                                Date: October 29, 2020
                                                                                                                                    Time: 9:30 a.m.
                                                                  19                                                                Place: Courtroom 1368
                                                                                                                                           Edward R. Roybal Federal Building
                                                                  20                                                                       255 East Temple Street
                                                                                                                                           Los Angeles, California 90012
                                                                  21                                                               Judge: Honorable Vincent P. Zurzolo

                                                                  22

                                                                  23

                                                                  24             Yueting Jia, the reorganized debtor herein (“YT” or the “Reorganized Debtor”), pursuant to

                                                                  25    Local Bankruptcy Rule 3020-1(b) and Paragraph T.3. of the Order Granting Motion to Confirm

                                                                  26    Third Amended Chapter 11 Plan of Reorganization for Yueting Jia (Dated March 17, 2020, Docket

                                                                  27    Entry #464) as Modified [Docket No. 810] (the “Confirmation Order”), entered on June 5, 2020,

                                                                  28    1
                                                                         The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is
                                                                        91 Marguerite Drive, Rancho Palos Verdes, CA 90275.

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                                                                   1   hereby submits his first post-confirmation status report with respect to the Third Amended Chapter

                                                                   2   11 Plan of Reorganization for Yueting Jia (Dated March 17, 2020) as modified by the Confirmation

                                                                   3   Order (the “Plan”).2 The Plan became effective on June 26, 2020.

                                                                   4              In accordance with the Hon. Vincent P. Zurzolo’s Instructions for Filing First Status Report

                                                                   5   Regarding Consummation of Confirmed Plan, a description of the actions taken by the Reorganized

                                                                   6   Debtor regarding consummation of the Plan is set forth below:

                                                                   7              1.       Since confirmation of the Plan (“Plan Confirmation”), the Reorganized Debtor has

                                                                   8   not acquired any new real property.

                                                                   9              2.       Since Plan Confirmation, the Reorganized Debtor has not acquired personal property

                                                                  10   at a cost of more than $5,000.00.

                                                                  11              3.       Since Plan Confirmation, the Reorganized Debtor has paid certain debts pursuant to
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   the Plan. A schedule of each debt and each class, listing the total amount the Plan requires to be
                                        LOS ANGELES, CALIFORNIA




                                                                  13   paid, the amount required to be paid to date, the actual amount paid to date, and the amount unpaid is
                                           ATTORNEYS AT LAW




                                                                  14   attached as Exhibit “A” to the Declaration of Yueting Jia attached hereto.

                                                                  15              4.       Since Plan Confirmation, the Reorganized Debtor has not entered into executory

                                                                  16   contracts with any party other than a divorce agreement with Wei Gan on August 11, 2020, on which

                                                                  17   date they were divorced.

                                                                  18              5.       Prior to Plan Confirmation, the Reorganized Debtor paid $8,162.00 to the Internal

                                                                  19   Revenue Service on account of his 2019 federal income taxes owed. Since Plan Confirmation, the

                                                                  20   Reorganized Debtor has not paid any post-petition taxes.

                                                                  21              6.       Currently, the Reorganized Debtor is not able to estimate when he will be in a

                                                                  22   position to apply for a final decree in this case. Pursuant to the Plan, the Reorganized Debtor may

                                                                  23   file objections to claims until December 23, 2020, unless such deadline is extended. Additionally,

                                                                  24   the Reorganized Debtor intends to move for entry of a discharge pursuant to section 1141(d)(5) of

                                                                  25   the Bankruptcy Code.

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                                                                           Capitalized terms not otherwise defined herein shall have the same meaning as set forth in the Plan.
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                                                                   1   Dated:     October 1, 2020                  PACHULSKI STANG ZIEHL & JONES LLP

                                                                   2
                                                                                                                   By       /s/ Malhar S. Pagay
                                                                   3                                                        Richard M. Pachulski
                                                                                                                            Jeffrey W. Dulberg
                                                                   4                                                        Malhar S. Pagay

                                                                   5                                                        Attorneys for Reorganized Debtor

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P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                                                   1                                    DECLARATION OF YUETING JIA

                                                                   2           I, Yueting Jia, declare as follows:
                                                                   3           1.       I am the reorganized debtor herein (the “Debtor”).
                                                                   4           2.       This Declaration is submitted in support of the Reorganized Debtor’s First Post-
                                                                   5   Confirmation Status Report Regarding Consummation of Plan of Reorganization (the “First Status
                                                                   6   Report”). Capitalized terms utilized but not defined herein shall have the same meanings as set forth
                                                                   7   in the First Status Report.
                                                                   8           3.       Except as otherwise indicated, all statements in this Declaration are based upon my
                                                                   9   personal knowledge, my review of books and records, relevant documents and other information
                                                                  10   prepared or collected by my employees, advisors and representatives, or my opinion based on my
                                                                  11   experience. In making my statements based on my review of books and records, relevant documents
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   and other information prepared or collected by my professionals, advisors and employees, I have
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       relied upon these professionals, advisors and employees accurately recoding, preparing or collecting
                                                                  14   such documentation and other information.
                                                                  15           4.       I am not fluent in English. Accordingly, in the ordinary course of my business and
                                                                  16   personal affairs that require me to communicate in English either orally or in writing, I employ
                                                                  17   interpreters/translators who are fluent in both English and Chinese.            I am utilizing such
                                                                  18   interpreters/translators in connection with matters that arise in connection with my Chapter 11 Case
                                                                  19   and intend to continue to do so. I have reviewed the First Status Report, as necessary, with the
                                                                  20   assistance of such interpreters/translators.
                                                                  21           5.       Since confirmation of the Plan (“Plan Confirmation”), I have not acquired any new
                                                                  22   real property.
                                                                  23           6.       Since Plan Confirmation, I have not acquired personal property at a cost of more than
                                                                  24   $5,000.00.
                                                                  25           7.       Since Plan Confirmation, I have paid certain debts pursuant to the Plan. A schedule
                                                                  26   of each debt and each class, listing the total amount the Plan requires to be paid, the amount required
                                                                  27   to be paid to date, the amount actually paid to date, and the amount unpaid is attached hereto as
                                                                  28   Exhibit “A”.
                                                                                                                        4
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                                                                   1           8.        Since Plan Confirmation, I have not entered into executory contracts with any party

                                                                   2   other than a divorce agreement with Wei Gan on August 11, 2020, on which date we were divorced.

                                                                   3           9.        Prior to Plan Confirmation, I paid $8,162.00 to the Internal Revenue Service on

                                                                   4   account of my 2019 federal income taxes owed. Since Plan Confirmation, I have not paid any post-

                                                                   5   petition taxes.

                                                                   6           10.       Currently, I am not able to estimate when I will be in a position to apply for a final

                                                                   7   decree in this case. Pursuant to the Plan, I may file objections to claims until December 23, 2020,

                                                                   8   unless such deadline is extended. Additionally, I intend to move for entry of a discharge.

                                                                   9

                                                                  10           I declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that the foregoing is true

                                                                  11   and correct to the best of my information, knowledge and belief.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           .
                                                                                                                         Rancho Palos Verdes
                                        LOS ANGELES, CALIFORNIA




                                                                  13           Executed this 1st day of October, 2020 at __________________, California.
                                           ATTORNEYS AT LAW




                                                                  14
                                                                                                                        _______________________________
                                                                  15                                                    Yueting Jia
                                                                  16

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                                                                   1                                                        Exhibit A
                                                                   2

                                                                   3   Nature of Debt      Class of Debt         Amount Due                Amount Paid                 Amount Unpaid
                                                                   4   Final Fee           Administrative        $2,898,731.01             $2,898,731.01               $0.00
                                                                       Applications of     Expense
                                                                   5   Employed
                                                                       Professionals
                                                                   6
                                                                       Other               Administrative        $0.00                     $0.00                       $0.00
                                                                       Administrative      Expense
                                                                   7
                                                                       Fees
                                                                   8   DIP Facility        DIP Facility Claims   $540,000                  $540,000                    $0.00
                                                                       Claims (Pacific
                                                                   9   Technology
                                                                       Holding LLC)
                                                                  10   2019 Income         Priority Tax Claims   $8,162.00                 $8,162.00                   $0.00
                                                                       Taxes
                                                                  11   Priority Non-Tax             1            $8,747,060 (*)            Satisfied through Wei Gan   $0.00
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       Claims                                                              settlement
                                                                  12   U.S. Secured                 2            $2,687,629 (*)            $0.00                       $2,687,629
                                        LOS ANGELES, CALIFORNIA




                                                                       Claims
                                                                  13
                                           ATTORNEYS AT LAW




                                                                       China Secured                3            $386,186,143.61 (*)       $0.00                       $386,186,143.61
                                                                       Claims
                                                                  14   Debt Claims                  4            $3.5 - $7.9 billion (*)   $0.00                       $3.5 - $7.9 billion
                                                                  15
                                                                       (*) Estimated amounts as set forth in Disclosure Statement.
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                                          PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): REORGANIZED DEBTOR’S FIRST
 POST-CONFIRMATION STATUS REPORT REGARDING CONSUMMATION OF PLAN OF
 REORGANIZATION; DECLARATION OF YUETING JIA IN SUPPORT THEREOF will be served or was
 served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
 below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 October 1, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date)                           , I served the following persons and/or entities at the last known addresses in this
 bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
 States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
 mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                   , I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 1, 2020              Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:327335.2 46353/002
        Case 2:19-bk-24804-VZ                Doc 963
                                                 907 Filed 05/06/21
                                                           10/01/20 Entered 05/06/21
                                                                             10/01/20 15:41:58
                                                                                      15:25:56                                      Desc
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com;ccripe@polsinelli.com;ladocketing@polsinelli.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Maria Cho MCho@RobinsKaplan.com
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Lei Lei Wang Ekvall lekvall@swelawfirm.com, lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
        Stephen D Finestone sfinestone@fhlawllp.com
        Richard H Golubow rgolubow@wghlawyers.com, pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
        Jared T. Green , spappa@svglaw.com
        Robbin L. Itkin ritkin@sklarkirsh.com, cbullock@sklarkirsh.com
        Mette H Kurth mkurth@foxrothschild.com, mette-kurth-7580@ecf.pacerpro.com
        Dare Law dare.law@usdoj.gov
        Ben H Logan blogan@omm.com
        Robert S Marticello Rmarticello@swelawfirm.com, gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
        David W. Meadows david@davidwmeadowslaw.com
        Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com
        John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
        Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com
        Kelly L Morrison kelly.l.morrison@usdoj.gov
        Matthew J Olson olson.matthew@dorsey.com, stell.laura@dorsey.com
        Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
        Diana M Perez , diana-perez-7352@ecf.pacerpro.com
        Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        Victor A Sahn vsahn@sulmeyerlaw.com,
         pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;cblair@ecf.inforuptcy.com
         ;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        Helena Tseregounis helena.tseregounis@lw.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Ryan A Witthans rwitthans@fhlawllp.com
        Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
        Claire K Wu ckwu@sulmeyerlaw.com, mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
        Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
        David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




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June 2012                                                                            F 9013-3.1.PROOF.SERVICE
DOCS_LA:327335.2 46353/002
            Case 2:19-bk-24804-VZ                 Doc 963 Filed 05/06/21 Entered 05/06/21 15:41:58                                       Desc
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                                          PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): REORGANIZED DEBTOR’S SECOND
 POST-CONFIRMATION STATUS REPORT REGARDING CONSUMMATION OF PLAN OF
 REORGANIZATION will be served or was served (a) on the judge in chambers in the form and manner required by
 LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 May 6, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) May 6, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
 adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
 postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 completed no later than 24 hours after the document is filed.


                VIA U.S. MAIL
                United States Bankruptcy Court
                Central District of California
                Attn: Hon. Vincent Zurzolo
                Edward R. Roybal Federal Bldg./Courthouse
                255 East Temple Street, Suite 1360
                Los Angeles, CA 90012

                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 6, 2021, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 6, 2021                  Sophia L. Lee                                                   /s/ Sophia L. Lee
 Date                         Printed Name                                                    Signature




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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:327335.2 46353/002
        Case 2:19-bk-24804-VZ                Doc 963 Filed 05/06/21 Entered 05/06/21 15:41:58                                       Desc
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com;ccripe@polsinelli.com;ladocketing@polsinelli.com
        Jerrold L Bregman jbregman@bg.law, ecf@bg.law
        Maria Cho MCho@RobinsKaplan.com
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Lei Lei Wang Ekvall lekvall@swelawfirm.com,
         lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
        Stephen D Finestone sfinestone@fhlawllp.com
        Richard H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;mweinberg@wghlawyers.com
        Jared T. Green , spappa@svglaw.com
        Robbin L. Itkin ritkin@sklarkirsh.com, cbullock@sklarkirsh.com
        Mette H Kurth mkurth@foxrothschild.com, mette-kurth-7580@ecf.pacerpro.com
        Dare Law dare.law@usdoj.gov
        Ben H Logan blogan@omm.com
        Robert S Marticello Rmarticello@swelawfirm.com,
         gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
        David W. Meadows david@davidwmeadowslaw.com
        Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com
        John A Moe john.moe@dentons.com, glenda.spratt@dentons.com;derry.kalve@dentons.com
        Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com
        Kelly L Morrison kelly.l.morrison@usdoj.gov
        Matthew J Olson olson.matt@dorsey.com, stell.laura@dorsey.com
        Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
        Diana M Perez , diana-perez-7352@ecf.pacerpro.com
        Christopher E Prince cprince@lesnickprince.com,
         jmack@lesnickprince.com;cprince@ecf.courtdrive.com;hbaig@lesnickprince.com
        Victor A Sahn vsahn@sulmeyerlaw.com,
         pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;cblair@ecf
         .inforuptcy.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        Helena Tseregounis helena.tseregounis@lw.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Ryan A Witthans rwitthans@fhlawllp.com
        Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
        Claire K Wu ckwu@sulmeyerlaw.com,
         mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
        Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
        David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




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